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                                        UNITED STATES DISTRICT COURT
                                           DISTRICT OF NEW JERSEY

 ---------------------------------------------------------X
 STEVEN GOODMAN, Individually and                              :
 on Behalf of All Other Persons Similarly                      :     Civil Action No.: 1:11-cv-04395-JHR-JS
 Situated,                                                     :
                                                               :
                                           Plaintiff,          :
                                                               :
                      -against-                                :
                                                               :
 BURLINGTON COAT FACTORY :
 WAREHOUSE CORPORATION,                                        :
 BURLINGTON COAT FACTORY :
 INVESTMENT HOLDINGS, INC., and                                :
 BURLINGTON COAT FACTORY :
 HOLDINGS, INC.,                                               :
                                                               :§
                                                 Defendants.   :
 ---------------------------------------------------------X
 BARBARA KAWA, THERESA MASSEY                                  :
 and DANIELLE SOLECKI, Individually                            :
 and on Behalf of All Other Persons                            :    Civil Action No.: 1:14-cv-2787-JHR-JS
 Similarly Situated,                                           :
                                                               :
                                           Plaintiffs,         :
                                                               :
                      -against-                                :
                                                               :
 BURLINGTON STORES, INC.,                                      :
 BURLINGTON COAT FACTORY :
 WAREHOUSE CORPORATION,                                        :
 BURLINGTON COAT FACTORY :
 INVESTMENT HOLDINGS, INC., and                                :
 BURLINGTON COAT FACTORY                                       :
 HOLDINGS, LLC f/k/a BURLINGTON                                :
 COAT FACTORY HOLDINGS, INC.,                                  :
                                                               :
                                                 Defendants.   :
 ---------------------------------------------------------X

           PLEASE TAKE NOTICE THAT Plaintiffs Steven Goodman, Barbara Kawa, Theresa

 Massey, and Danielle Solecki (collectively “Plaintiffs”), by and through their counsel, will move this

 Court, before the Honorable Joel Schneider, on December 11, 2020 at 2:00 p.m., in the United
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 States District Court for the District of New Jersey, Newark Vicinage, Martin Luther King

 Building & U.S. Courthouse, 50 Walnut Street, Room 4015 Newark, New Jersey 07101 or

 through such electronic medium as the Court may permit, and by consent agreement for all the

 parties, for an order, pursuant to Federal Rules of Civil Procedure 23(e), 23(h), and 54(d)(2),

 providing the following relief: (1) final approval of the proposed settlement of this action,

 including the final certification of the state law settlement class and approval of the settlement as

 adequate, fair and reasonable as to the Fair Labor Standards Act collective and the state law

 Settlement Class; (2) approval to pay the settlement administrator, JND Class Action

 Administration, LLC, in an amount up to but not more than $35,000; (3) an award of plaintiffs’

 attorneys’ fees and costs, in the amounts of $6,537,966.67 (fees) and $348,000 (costs and

 expenses); and (4) service payments to each named plaintiff in the amount of $10,000. A

 proposed form of final approval order and judgment was previously agreed-upon and part of the

 parties’ Settlement Agreement and a copy is attached hereto as Exhibit A.

         In support thereof, Plaintiffs rely on the accompanying Memorandum in Support of

 Plaintiffs’ Unopposed Motion for Final Approval of Class And Collective Action Settlement And

 in Support of Award of Attorneys’ Fees And Costs, Incentive Awards to Named Plaintiffs, And

 Payment of The Settlement Administrator and the accompanying Declaration of Seth R. Lesser, as

 well as the exhibits thereto, and all matters previously had in these cases.

         Defendants Burlington Coat Factory Warehouse Corporation, Burlington Coat Factory

 Investment Holdings, Inc., Burlington Coat Factory Holdings, LLC f/k/a Burlington Coat Factory

 Holdings, Inc., and Burlington Stores, Inc. agree to, and do not oppose this motion.


 Dated: November 20, 2020                Respectfully submitted,
 Rye Brook, New York
                                         By: /s/ Seth R. Lesser
                                         Seth R. Lesser

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                               Attorneys for Plaintiffs




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                                     CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that, on November 20, 2020, the foregoing document was

 electronically filed with the Clerk of the Court using the CM/ECF system which sends notification

 of such filing to all counsel of record.




                                                             /s/ Seth R. Lesser
                                                             Seth R. Lesser

                                                             One of the Attorneys for Plaintiffs




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             EXHIBIT A
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                                   UNITED STATES DISTRICT COURT
                                         DISTRICT OF NEW JERSEY
 -------------------------------------------------------X
 STEVEN GOODMAN, Individually and                      :
 on Behalf of All Other Persons Similarly              :   Civil Action No.: 1:11-cv-04395-JHR-JS
 Situated,                                             :
                                                       :
                            Plaintiff,                 :
                                                       :
                   -against-                           :
                                                       :
 BURLINGTON COAT FACTORY                               :
 WAREHOUSE CORPORATION,                                :
 BURLINGTON COAT FACTORY                               :
 INVESTMENT HOLDINGS, INC., and                        :
 BURLINGTON COAT FACTORY                               :
 HOLDINGS, INC.,                                       :
                                                       :
                                     Defendants. :
 -------------------------------------------------------X
 BARBARA KAWA, THERESA MASSEY :
 and DANIELLE SOLECKI, Individually                    :
 and on Behalf of All Other Persons                    :  Civil Action No.: 1:14-cv-2787-JHR-JS
 Similarly Situated,                                   :
                                                       :
                                     Plaintiffs,       :
                                                       :
                   -against-                           :
                                                       :
 BURLINGTON STORES, INC.,                              :
 BURLINGTON COAT FACTORY                               :
 WAREHOUSE CORPORATION,                                :
 BURLINGTON COAT FACTORY                               :
 INVESTMENT HOLDINGS, INC., and                        :
 BURLINGTON COAT FACTORY                               :
 HOLDINGS, LLC f/k/a BURLINGTON                        :
 COAT FACTORY HOLDINGS, INC.,                          :
                                                       :
                                     Defendants. :
 -------------------------------------------------------X

               [PROPOSED] FINAL APPROVAL ORDER AND JUDGMENT

        This matter comes before the Court on Plaintiffs’ Motion for Final Approval of the

 Proposed Settlement of the above captioned actions (the “Motion for Final Approval”). The
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 parties have duly consented, pursuant to Fed. R. Civ. Pro 73, to this Court’s authority to conduct

 all proceedings concerning approval of the proposed Settlement set forth in the Parties’

 Settlement Agreement (the “Settlement Agreement”), attached as Exhibit A to the Declaration of

 Seth R. Lesser (“Lesser Dec.”) filed herewith. After review and consideration of the Settlement

 Agreement, the papers in support of the Motion for Final Approval, including the Lesser Dec.

 and all of its accompanying exhibits, it is hereby ordered as follows:

        1.      The Court has jurisdiction over the subject matter of the above-captioned actions

 (the “Actions”), all members of the Collective, and members of the Settlement Class [except

 those who have timely and validly opted-out of the Settlement as identified below], and

 Defendants pursuant to 28 U.S.C. §§ 1331, 1332, and 1367.

        2.      All defined terms in the Settlement Agreement shall have the same meaning in

 this Final Approval Order and Judgment.

        3.      In accordance with Federal Rule of Civil Procedure 23 and the requirements of

 due process, the Collective and Settlement Class Members have been given proper and adequate

 notice of the Settlement and the Fairness Hearing, and, as evidenced by the Declaration of

 Stephen L. Donaldson (“Donaldson Declaration”) such notice was carried out in accordance with

 the Order Approving Settlement Notice and the Settlement Agreement. In addition, as evidenced

 by the Donaldson Declaration, notice has been provided to appropriate Federal and State officials

 as required by the Class Action Fairness Act, 28 U.S.C. § 1715,

        4.      The Notice and notice methodology implemented pursuant to the Settlement

 Agreement and the Court’s Order Approving Settlement Notice (a) were appropriate and

 reasonable and constituted due, adequate and sufficient notice to all persons entitled to notice;

 and (b) met all applicable requirements of the Federal Rules of Civil Procedure and any other

 applicable law.

        5.         The Court approves the proposed Settlement of the Actions. The Court finds, for

 the reasons set forth in Plaintiffs’ Memorandum In Support of Final Approval insofar as it would

 resolve the Kawa Action, it meets all of the requirements of Fed. R. Civ. Pro. 23(e)(2).

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          6.    The Settlement was negotiated with the assistance of an experienced mediator, at

 arm’s-length, by experienced counsel who were fully informed of the facts and circumstances of

 the Actions and of the strengths and weaknesses of their respective positions. The Settlement

 was reached after the parties had completed extensive discovery and investigation, conducted

 legal research, and exchanged written discovery, conducted multiple depositions, and reviewed

 hundreds of thousands of pages worth of documents.           Counsel for both sides were well

 positioned to evaluate the benefits of the Settlement, taking into account the expense, risk, and

 uncertainty of protracted litigation over numerous questions of fact and law. The Settlement is

 therefore fair, reasonable and adequate.

          7.    The Court further finds, for the reasons set forth in Plaintiffs’ Memorandum In

 Support of Final Approval, that the proposed Settlement of the FLSA claims asserted by

 Collective Members in the Goodman Action is a settlement of a bona-fide dispute, is a fair and

 reasonable compromise of the FLSA claims asserted that is in the best interests of the Collective

 Members and comports with the factors set forth in Girsh v. Jepsen, 521 F.2d 153, 157 (3d Cir.

 1975).

          8.    The Court finds that for the purpose of this Settlement, the requirements of Rule

 23 of the Federal Rules of Civil Procedure are satisfied, and that a class action is an appropriate

 method for resolving the state law claims asserted in the Kawa Action. All the prerequisites for

 class certification under Rule 23 are present. The Settlement Class Members are ascertainable

 and too numerous to be joined. For settlement purposes only, questions of law and fact common

 to all Settlement Class Members predominate over individual issues and should be determined in

 one proceeding with respect to all of the Settlement Class Members. The Kawa Named

 Plaintiffs’ claims are typical of those of the Settlement Class for settlement purposes. The Kawa

 Named Plaintiffs and Class Counsel meet the adequacy requirements of Fed. R. Civ. P. 23(a)(4).

 For settlement purposes, the class action mechanism is superior to alternative means for

 adjudicating and resolving the state law claims asserted in the Kawa Action.



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        9.      The Court finally certifies the following Settlement Class for purposes of this

 Settlement only:

                a. Individuals who worked for Burlington in California as an Assistant Store
                   Manager at any time between May 1, 2010 through August 24, 2020;
                b. Individuals who worked for Burlington in Illinois as an Assistant Store
                   Manager at any time between May 1, 2011 through August 24, 2020; and
                c. Individuals who worked for Burlington in New York as an Assistant Store
                   Manager at any time between May 1, 2008 through August 24, 2020.

        10.     The Court also appoints the Kawa Named Plaintiffs (Barbara Kawa, Theresa

 Massey, and Danielle Solecki), as Representatives of the Settlement Class (“Class Plaintiffs”) as

 they meet the requirements of Fed. R. Civ. Pro. 23(a)(4) for the purposes of settlement and

 Klafter Olsen & Lesser LLP, Locks Law Firm LLC, and Javerbaum Wurgaft Hicks Kahn

 Wikstrom & Sinins, P.C. as Class Counsel for the Settlement Class as they meet the

 requirements of Fed. R. Civ. Pro. 23(g) for the purposes of settlement.

        11.     Class Counsel, are hereby awarded attorneys’ fees in the amount of

 $___________________,       which    the   Court    finds   to   be   fair   and   reasonable,   and

 $___________________ in reimbursement of reasonable expenses incurred in prosecuting the

 Actions. The attorneys’ fees and expenses so awarded shall be paid from the Total Maximum

 Settlement Amount pursuant to the terms of the Settlement Agreement and these sums are to be

 paid to Klafter Olsen & Lesser LLP to be distributed to the other Class Counsel.
        12.     The Court finds that the Named Plaintiffs have conferred a substantial benefit on

 the Collective and Settlement Class Members by initiating the Goodman or Kawa Action and

 assisting in the prosecution of the claims asserted in the Actions and hereby directs payment as

 provided under the terms of the parties’ Settlement Agreement from the Total Maximum

 Settlement Amount to Named Plaintiffs Steven Goodman, Barbara Kawa, Theresa Massey, and

 Danielle Solecki of $___________ to each, as Incentive Payments.

        13.     The Court finds that the Settlement Administrator’s fees and expenses are

 reasonable and approves the payment of $___________ to the Settlement Administrator from the

 Total Maximum Settlement Amount in accordance with the terms of the Settlement Agreement.
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          14.     The certification of the Settlement Class is for settlement purposes only and shall

  not constitute, nor be construed as, an admission on the part of Defendants that these claims are

  appropriate for class treatment pursuant to Federal Rule of Civil Procedure 23, or any other

  similar class rule. Nor shall this Final Approval Order and Judgment be construed, used, offered,

  or admitted into evidence as an admission or concession by Defendants of the validity of any

  claim or any actual or potential liability or fault.

          15.     Final Judgment is entered in the above-captioned cases in accordance with this

  Final Approval Order and the Settlement Agreement.

          16.     Following the Effective Date as provided for in the Settlement Agreement and

  receipt of the Total Maximum Settlement Amount from Defendants as provided for in the

  Settlement Agreement, the Settlement Administrator shall effectuate distribution of the

  settlement funds to the Collective and Settlement Class Members in accordance with the terms of

  the Settlement Agreement.

          17.     Upon the Effective Date provided for in the Settlement Agreement, all Settlement

  Class Members other than those who have timely and validly excluded themselves from the

  Settlement (who are identified in Exhibit A hereto) will be deemed to have released the claims

  included in the Settlement Class Member Release as set forth in Section 3(a) of the Settlement

  Agreement, and which is incorporated herein.

          18.     The Kawa Action is hereby dismissed with prejudice.

          19.     Upon the Effective Date provided for in the Settlement Agreement, all Collective

  Members will be deemed to have released the claims included in the Collective Member Release

  as set forth in Section 3(b) of the Settlement Agreement, and which is incorporated herein.

          20.     Upon the Effective Date provided for in the Settlement Agreement, all Named

  Plaintiffs will be deemed to have released the claims as set forth in Section 3(c) and 3(d) of the

  Settlement Agreement, and which is incorporated herein.

          21.     The Goodman Action is hereby dismissed with prejudice.



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         22.    The Court shall retain exclusive and continuing jurisdiction over the Actions, the

  Collective Members, the Settlement Class Members (who have not timely and validly opted-out

  of the Settlement), and Defendants, to interpret and enforce the terms, conditions, and

  obligations of the Settlement Agreement.

         IT IS SO ORDERED.

  Dated: ___________                                 ____________________________
                                                     Hon. Joel Schneider
                                                     UNITED STATES MAGISTRATE JUDGE




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